                        List of the thyssenkrupp Group's subsidiaries and equity interests as of September 30, 2019 (ART 313 German Comercial Code)

No.      Name and domicile of Company                                                                                            Shareholdings    Held by       Held in %
                                                                                                                                     in %           No.




A. Fully consolidated group companies

Algeria
       1 Blohm+Voss El Djazair S.a.r.l., Algier, Algeria                                                                                 100,00        369
Argentina
       2 thyssenkrupp Elevadores S.A., Buenos Aires, Argentina                                                                           100,00        382          94,98
                                                                                                                                                        35           5,02
       3 thyssenkrupp Industrial Solutions Argentina S.A., Buenos Aires, Argentina                                                       100,00        135
Australia
       4 SONARTECH ATLAS PTY LIMITED, Macquarie Park/New South Wales, Australia                                                          100,00         69
       5 thyssenkrupp Elevator Australia Pty. Ltd., Sydney/New South Wales, Australia                                                    100,00             7
       6 thyssenkrupp Industrial Solutions (Australia) Pty. Ltd., Perth, Australia                                                       100,00        135
       7 thyssenkrupp Lifts Pacific Pty. Ltd., Alexandria/New South Wales, Australia                                                     100,00        119
       8 thyssenkrupp Materials Australia Pty. Ltd., Chatswood NSW , Australia                                                           100,00        216
Bahrain
       9 thyssenkrupp Elevator Almoayyed W.L.L., Manama, Bahrain                                                                          70,00        119
Bangladesh
      10 thyssenkrupp Elevator (BD) Pvt. Ltd., Dhaka, Bangladesh                                                                         100,00        224
Belgium
      11 thyssenkrupp Home Solutions N.V., Gent, Belgium                                                                                 100,00        102           0,07
                                                                                                                                                       312          99,93
      12 thyssenkrupp Liften Ascenseurs S.A., Brussel, Belgium                                                                           100,00        119           0,00
                                                                                                                                                       120         100,00
      13 thyssenkrupp Materials Belgium N.V., Lokeren, Belgium                                                                           100,00        123          65,59
                                                                                                                                                       144          34,41
      14 thyssenkrupp Plastics Belgium N.V./S.A., Lokeren, Belgium                                                                       100,00        123         100,00
                                                                                                                                                       147           0,00
      15 thyssenkrupp Steel Heavy Plate Antwerp N.V., Antwerp, Belgium                                                                   100,00        100           0,00
                                                                                                                                                       161         100,00
Botswana
      16 thyssenkrupp Industrial Solutions (Botswana) (Proprietary) Limited, Gaborone, Botswana                                          100,00        135           0,03
                                                                                                                                                       343          99,97
Brazil
      17 BercoSul Ltda., Hortolandia-São Paulo, Brazil                                                                                   100,00         21           0,00
                                                                                                                                                       238         100,00
      18 RIP Serviços Siderúrgicos Ltda., Rio de Janeiro, Brazil                                                                         100,00         30
      19 Thyssen Trading S.A., São Paulo, Brazil                                                                                         100,00        144
      20 thyssenkrupp Autômata Industria de Peças Ltda., São Paulo, Brazil                                                                80,00         30
      21 thyssenkrupp Brasil Ltda., Diadema, Brazil                                                                                      100,00        163          71,52
                                                                                                                                                       108           1,14
                                                                                                                                                       112          17,29
                                                                                                                                                       195          10,05
      22 thyssenkrupp Comércio de Combustíveis e Gases Ltda., Rio de Janeiro, Brazil                                                      99,48        145
      23 thyssenkrupp Elevadores, S.A., Guaiba, Brazil                                                                                    99,78        382
      24 thyssenkrupp Industrial Solutions Ltda., Diadema-São Paulo, Brazil                                                              100,00        135          57,22
                                                                                                                                                       162          42,78
      25 thyssenkrupp Infrastructure Brasil Ltda., Rio de Janeiro, Brazil                                                                100,00         21           0,00
                                                                                                                                                       144         100,00
      26 thyssenkrupp Marine Systems do Brasil Indústria e Comércio Ltda. , Moncoes, Brazil                                              100,00         21           1,00
                                                                                                                                                       141          99,00
      27 thyssenkrupp Metalúrgica Campo Limpo Ltda., Campo Limpo Paulista, Brazil                                                         59,77        319
      28 thyssenkrupp Metalúrgica Santa Luzia Ltda., Santa Luzia, Brazil                                                                 100,00         27
      29 thyssenkrupp rothe erde Brazil Participacões Ltda., Diadema, Brazil                                                             100,00         21          99,90
                                                                                                                                                        30           0,10
      30 thyssenkrupp Servicos Siderurgicos Ltda., Sao Paulo, Brazil                                                                     100,00         21           0,00
                                                                                                                                                       144         100,00
Brunei
      31 thyssenkrupp Industrial Solutions BRN SDN BHD, Brunei, Brunei                                                                   100,00             6        1,00
                                                                                                                                                       367          99,00
Bulgaria
      32 Berco Bulgaria EOOD, Apriltsi, Bulgaria                                                                                         100,00        238
      33 Mining Plants & Systems Bulgaria EOOD, Sofia, Bulgaria                                                                          100,00        135
      34 thyssenkrupp Materials Bulgaria OOD , Sofia, Bulgaria                                                                            80,00        144
Chile
      35 thyssenkrupp Elevadores S.A., Santiago de Chile-Nunoa, Chile                                                                    100,00             2        1,16
                                                                                                      382   98,84
   36 ThyssenKrupp Industrial Solutions (Chile) Limitada, Santiago de Chile, Chile           100,00   135    0,10
                                                                                                      426   99,90
   37 thyssenkrupp Steel Chile SpA, Santiago, Chile                                          100,00   161
China
   38 Chengdu thyssenkrupp Fawer Spring Co. Ltd., Chengdu, China                             100,00   51
   39 Defontaine (Qingdao) Machinery Co., Ltd., Jiaonan City, Shandong Province, China       100,00   163
   40 Marohn thyssenkrupp Elevator Co. Ltd., Shanghai, China*                                 51,00   42
   41 Thyssen Elevators Co., Ltd., Zhongshan, China                                          100,00   119
   42 thyssenkrupp (China) Ltd., Beijing, China                                              100,00   104
   43 thyssenkrupp Access China Ltd., Shanghai, China                                        100,00   42
   44 thyssenkrupp Aerospace (Suzhou) Co., Ltd., Shanghai, China                             100,00   163
   45 thyssenkrupp Aerospace (Xi'an) Co., Ltd., Xi'an, China                                 100,00   163
   46 thyssenkrupp Airport Systems Co. (Zhongshan) Ltd., Zhongshan/Guangdong, China          100,00   42
   47 thyssenkrupp BulkTec (China) Ltd., Beijing, China                                      100,00   42
   48 thyssenkrupp Elevators (Shanghai) Co., Ltd., Shanghai, China                           100,00   42
   49 thyssenkrupp Engine Components (China) Co., Ltd., Nanjing, China                       100,00   163
   50 thyssenkrupp Escalator Co. (China) Ltd., Zhongshan/Guangdong, China                    100,00   42
   51 thyssenkrupp Fawer Liaoyang Spring Co., Ltd., Liaoyang/Liaoning, China                  60,00   42
   52 thyssenkrupp Industrial Solutions (China) Co., Ltd., Shanghai, China                   100,00   42
   53 thyssenkrupp Materials (Shanghai) Co., Ltd., Shanghai, China                            70,00   144
   54 thyssenkrupp Materials Trading Tianjin Co., Ltd. , Tianjin, China                      100,00   145
   55 thyssenkrupp Presta Dalian Co. Ltd., Dalian, China                                     100,00   42
   56 thyssenkrupp Presta Fawer (Changchun) Co. Ltd., Changchun, China                        60,00   195
   57 thyssenkrupp Presta Fawer Changzhou Co., Ltd., Changzhou, China                        100,00   56
   58 thyssenkrupp Presta HuiZhong Shanghai Co., Ltd., Shanghai, China                        60,00   195
   59 thyssenkrupp Presta Shanghai Co. Ltd., Shanghai, China                                 100,00   42
   60 thyssenkrupp rothe erde (Xuzhou) Ring Mill Co., Ltd., Xuzhou, China                    100,00   163
   61 thyssenkrupp Springs and Stabilizers (Pinghu) Ltd., , China                            100,00   42
   62 thyssenkrupp Steel (Beijing) Co., Ltd., Beijing, China                                 100,00   320
   63 thyssenkrupp Steering Changzhou Ltd., Changzhou, China                                 100,00   42
   64 thyssenkrupp System Engineering (Shanghai) Co., Ltd., Shanghai, China                  100,00   42
   65 thyssenkrupp Uhde Chlorine Engineers (Shanghai) Co., Ltd., Shanghai, China             100,00   255
   66 thyssenkrupp Valvetrain China Ltd., Changzhou, China                                   100,00   42
   67 Xuzhou Rothe Erde Slewing Bearing Co., Ltd., Xuzhou, China                              60,00   42
Curacao
   68 Thyssen Sudamerica N.V., Willemstad, Curacao                                           100,00   316
Germany
   69 ATLAS ELEKTRONIK GmbH, Bremen                                                          100,00   163
   70 ATLAS HYDROGRAPHIC GmbH, Bremen                                                        100,00   69
   71 B.L.S. Aufzugservice GmbH, Walsrode                                                    100,00   120
   72 Banter See Vermögensverwaltung GmbH, Düsseldorf                                        100,00   154
   73 Becker & Co. GmbH, Neuwied                                                             100,00   93
   74 BERCO Deutschland GmbH, Ennepetal                                                      100,00   163
   75 Blohm + Voss Shipyards & Services GmbH, Hamburg                                        100,00   163
   76 CCI Crane Cooperation International Handelsgesellschaft mbH, Essen                     100,00   104
   77 Dorea Grundstücksverwaltungsgesellschaft mbH & Co. Vermietungs KG, Mainz                94,00   104
   78 DSU Beteiligungs-Gesellschaft für Dienstleistungen und Umwelttechnik mbH, Oberhausen   100,00   146
   79 DWR - Deutsche Gesellschaft für Weißblechrecycling mbH, Andernach                      100,00   152
   80 EH Güterverkehr GmbH, Duisburg                                                         100,00   161
   81 Eisen- und Hüttenwerke AG, Andernach                                                    87,98   161
   82 ELEG Europäische Lift + Escalator GmbH, Düsseldorf                                     100,00   119
   83 German Marine Systems GmbH, Hamburg                                                    100,00   163
   84 GLH GmbH, Essen                                                                        100,00   163
   85 Hagenuk Marinekommunikation GmbH, Flintbek                                             100,00   69
   86 Howaldtswerke-Deutsche Werft Beteiligungs-GmbH, Kiel                                   100,00   141
   87 IKL Ingenieurkontor Lübeck GmbH, Kiel                                                  100,00   141
   88 Jacob Bek Gesellschaft mit beschränkter Haftung, Ulm                                    79,96   144
   89 KBS Kokereibetriebsgesellschaft Schwelgern GmbH, Duisburg                              100,00   161
   90 LiftEquip GmbH Elevator Components, Neuhausen a.d.F.                                   100,00   120
   91 Max Cochius GmbH, Berlin                                                                75,00   144
   92 PSL Wälzlager GmbH, Dietzenbach                                                        100,00   375
   93 Rasselstein Verwaltungs GmbH, Neuwied                                                  100,00   81    40,77
                                                                                                      161   59,23
   94 Reisebüro Dr. Tigges Gesellschaft mit beschränkter Haftung, Essen                      100,00   144
   95 Rheinstahl Union Gesellschaft mit beschränkter Haftung, Düsseldorf                     100,00   119
   96 SVG Steinwerder Verwaltungsgesellschaft mbH, Hamburg                                   100,00   163
   97 Tepper Aufzüge GmbH, Münster                                                           100,00   120
   98 Thyssen Liegenschaften Verwaltungs- und Verwertungs GmbH & Co. KG Industrie, Essen     100,00   110    5,10
                                                                                                      163   94,90
   99 Thyssen Liegenschaften Verwaltungs- und Verwertungs GmbH & Co. KG Stahl, Essen         100,00   110    5,10
                                                                                                      131   94,90
100 Thyssen Stahl GmbH, Düsseldorf                                                  100,00   115
101 thyssenkrupp Academy GmbH, Düsseldorf                                           100,00   163
102 thyssenkrupp Access Solutions GmbH, Essen                                       100,00   119
103 thyssenkrupp Aerospace Germany GmbH, Rodgau, Nieder-Roden                       100,00   144
104 thyssenkrupp AG, Duisburg und Essen                                        3)   100,00
105 thyssenkrupp AT.PRO tec GmbH, Essen                                              67,10   145
106 thyssenkrupp Aufzugswerke GmbH, Neuhausen a.d.F.                                 99,50   120
107 thyssenkrupp Aufzüge GmbH, Neuhausen a. d. Fildern                              100,00   121
108 thyssenkrupp Automotive Systems GmbH, Essen                                     100,00   163
109 thyssenkrupp Bilstein GmbH, Ennepetal                                           100,00   104    5,01
                                                                                             163   94,99
110 thyssenkrupp Business Services GmbH, Essen                                      100,00   104
111 thyssenkrupp Carbon Components GmbH, Wilsdruff                                   84,64   108
112 thyssenkrupp Components Tech GmbH, Essen                                        100,00   126
113 thyssenkrupp Components Technology Holding GmbH, Essen                          100,00   163
114 thyssenkrupp DeliCate GmbH, Düsseldorf                                          100,00   154
115 thyssenkrupp Dritte Beteiligungsgesellschaft mbH, Duisburg                      100,00   163
116 thyssenkrupp Edelstahl-Service-Center GmbH, Willich                             100,00   144
117 thyssenkrupp Electrical Steel GmbH, Gelsenkirchen                                99,58   100   11,96
                                                                                             118   87,62
118 thyssenkrupp Electrical Steel Verwaltungsgesellschaft mbH, Gelsenkirchen        100,00   161   62,46
                                                                                             81    37,54
119 thyssenkrupp Elevator AG, Düsseldorf                                            100,00   163
120 thyssenkrupp Elevator Europe Africa GmbH, Essen                                 100,00   119
121 thyssenkrupp Elevator Europe Africa Services GmbH, Essen                        100,00   120
122 thyssenkrupp Elevator Holding GmbH, Essen                                       100,00   317
123 thyssenkrupp Facilities Services GmbH, Essen                                    100,00   144
124 thyssenkrupp Fahrtreppen GmbH, Hamburg                                          100,00   120
125 thyssenkrupp Federn GmbH, Hagen                                                 100,00   104    5,01
                                                                                             109   94,99
126 thyssenkrupp Federn und Stabilisatoren GmbH, Hagen                              100,00   163
127 thyssenkrupp Fertilizer Technology GmbH, Dortmund                               100,00   135
128 thyssenkrupp Fünfte Beteiligungsgesellschaft mbH, Essen                         100,00   163
129 thyssenkrupp Gerlach GmbH, Homburg/Saar                                         100,00   163
130 thyssenkrupp GfT Gleistechnik GmbH, Essen                                       100,00   144
131 thyssenkrupp Grundbesitz Verwaltungs GmbH, Essen                                100,00   104
132 thyssenkrupp Hohenlimburg GmbH, Hagen                                           100,00   161
133 thyssenkrupp Hohenlimburg Kompetenzwerkstatt GmbH, Hagen                        100,00   132
134 thyssenkrupp Immobilien Verwaltungs GmbH & Co. KG Stahl, Essen                  100,00   99
135 thyssenkrupp Industrial Solutions AG, Essen                                     100,00   163
136 thyssenkrupp Industrials Finance Germany GmbH, Essen                            100,00   163
137 thyssenkrupp Industrials Participations GmbH, Essen                             100,00   163
138 thyssenkrupp Infrastructure GmbH, Essen                                         100,00   144
139 thyssenkrupp Intellectual Property GmbH, Essen                                  100,00   163
140 thyssenkrupp Management Consulting GmbH, Düsseldorf                             100,00   154
141 thyssenkrupp Marine Systems GmbH, Kiel                                          100,00   163
142 thyssenkrupp Materials IoT GmbH, Essen                                          100,00   144
143 thyssenkrupp Materials Processing Europe GmbH, Krefeld                           99,58   104    4,34
                                                                                             144   95,24
144 thyssenkrupp Materials Services GmbH, Essen                                      99,84   104
145 thyssenkrupp Materials Trading GmbH, Essen                                      100,00   144
146 thyssenkrupp MillServices & Systems GmbH, Duisburg                               68,00   115
147 thyssenkrupp Plastics GmbH, Essen                                               100,00   123
148 thyssenkrupp Presta Chemnitz GmbH, Chemnitz                                     100,00   163
149 thyssenkrupp Presta Ilsenburg GmbH, Ilsenburg                                   100,00   104    5,02
                                                                                             163   94,98
150 thyssenkrupp Presta Mülheim GmbH, Mülheim an der Ruhr                           100,00   104    5,01
                                                                                             163   94,99
151 thyssenkrupp Presta Schönebeck GmbH, Schönebeck                                 100,00   150
152 thyssenkrupp Rasselstein GmbH, Andernach                                         99,50   93
153 thyssenkrupp Regional Investment GmbH, Essen                                    100,00   104
154 thyssenkrupp Regional Services Germany GmbH, Essen                              100,00   104
155 thyssenkrupp rothe erde Germany GmbH, Dortmund                                  100,00   104    5,10
                                                                                             163   94,90
156 thyssenkrupp Schulte GmbH, Essen                                                100,00   104    6,00
                                                                                             144   94,00
157 thyssenkrupp Senior Experts GmbH, Essen                                         100,00   163
158 thyssenkrupp smart steel GmbH, Duisburg                                         100,00   115
159 thyssenkrupp Stainless GmbH, Essen                                              100,00   144
160 thyssenkrupp Steel Business Services GmbH, Duisburg                             100,00   115
161 thyssenkrupp Steel Europe AG, Duisburg                                          100,00   100   94,90
                                                                                             104    5,10
  162 thyssenkrupp System Engineering GmbH, Essen                                            100,00   163
  163 thyssenkrupp Technologies Beteiligungen GmbH, Essen                                    100,00   104
  164 thyssenkrupp Transrapid GmbH, Kassel                                                   100,00   163
  165 thyssenkrupp Uhde Chlorine Engineers GmbH, Dortmund                                     66,00   135
  166 thyssenkrupp Uhde Engineering Services GmbH, Haltern am See                            100,00   135
  167 thyssenkrupp USA Holding AG & Co. KG, Essen                                            100,00   104    90,00
                                                                                                      163    10,00
  168 thyssenkrupp Valvetrain GmbH, Ilsenburg (Harz)                                         100,00   163
  169 thyssenkrupp Vermietungs GmbH, Duisburg                                                100,00   104     5,10
                                                                                                      110    94,90
  170 thyssenkrupp Vierte Beteiligungsgesellschaft mbH, Essen                                100,00   104
  171 TKMS Business Partnership, Kiel                                                        100,00   141    95,00
                                                                                                      211     5,00
  172 Uhde High Pressure Technologies GmbH, Hagen                                            100,00   135
  173 Uhde Inventa-Fischer GmbH, Berlin                                                      100,00   135
  174 Uhde Services and Consulting GmbH, Dortmund                                            100,00   163
  175 Vermögensverwaltungsgesellschaft TAUS mbH, Grünwald                                    100,00   154
Denmark
  176 ATLAS Maridan ApS, Rungsted, Denmark                                                   100,00   69
  177 RIAS A/S, Roskilde, Denmark                                                             54,15   123
  178 thyssenkrupp Elevator A/S, Glostrup, Denmark                                           100,00   120
  179 thyssenkrupp Stål Denmark A/S, Hundested, Denmark                                      100,00   320
Finland
  180 ATLAS ELEKTRONIK Finland OY, Espoo, Finland                                            100,00   69
  181 thyssenkrupp Aerospace Finland Oy, Jämsä, Finland                                      100,00   216
France
  182 Ascenseurs Drieux-Combaluzier S.A.S., Les Lilas, France                                100,00   186
  183 Defontaine S.A., La Bruffière, France                                                  100,00   190
  184 MGTI SNEV S.A.S., Saint Jeannet, France                                                100,00   186
  185 Proxi-Line S.a.r.l., Angers, France                                                    100,00   189
  186 thyssenkrupp Ascenseurs S.A.S., Angers, France                                         100,00   189
  187 thyssenkrupp Automotive Systèmes France S.A.R.L., Sarreguemines, France                100,00   190
  188 thyssenkrupp Electrical Steel UGO S.A.S., Isbergues, France                            100,00   320
  189 thyssenkrupp Elevator Holding France S.A.S., Puteaux Cedex, France                     100,00   190
  190 thyssenkrupp France S.A.S., Maurepas, France                                           100,00   317
  191 thyssenkrupp Industrial Solutions (France) S.A.S., Aix en Provence, France             100,00   190
  192 thyssenkrupp Materials France S.A.S., Maurepas, France                                 100,00   190
  193 thyssenkrupp Mavilor S.A., Villeurbanne, France                                        100,00   190
  194 thyssenkrupp Plastics France S.A.S., Mitry-Mory, France                                100,00   190
  195 thyssenkrupp Presta France S.A.S., Florange, France                                    100,00   190
  196 thyssenkrupp Steel France S.A.S., Maurepas, France                                     100,00   320
  197 thyssenkrupp System Engineering S.A.S., Ensisheim, France                              100,00   190
Greece
  198 Greek Naval Shipyards Holding S.A., Skaramanga, Greece                                 100,00   86
Great Britain
  199 ATLAS ELEKTRONIK UK (Holding) Ltd., Winfrith Newburgh, Great Britain                   100,00   69
  200 ATLAS ELEKTRONIK UK Ltd., Winfrith Newburgh, Great Britain                             100,00   199
  201 Hytrac Lifts Ltd., , Great Britain                                                     100,00   216
  202 Lift & Engineering Services Ltd., West Midlands, Great Britain                         100,00   216
  203 Polysius Ltd., Ascot/Berkshire, Great Britain                                          100,00   216
  204 SDV Escalators Ltd. (UK), Skipton, North Yorkshire, Great Britain                      100,00   216
  205 thyssenkrupp Access Ltd., Stockton-on-Tees, Great Britain                              100,00   216
  206 thyssenkrupp Aufzüge Ltd., Nottingham, Great Britain                                   100,00   216
  207 thyssenkrupp Automotive (UK) Ltd., Solihull, Great Britain                             100,00   216
  208 thyssenkrupp Elevator UK Ltd., Nottingham, Great Britain                               100,00   206
  209 thyssenkrupp Industrial Solutions Oil & Gas Ltd., Port Talbot (Wales), Great Britain   100,00   216
  210 thyssenkrupp Mannex UK Ltd., Woking, Great Britain                                     100,00   216
  211 thyssenkrupp Marine Systems LLP, Solihull, Great Britain                               100,00   141    99,50
                                                                                                      163     0,50
  212 thyssenkrupp Materials (UK) Ltd., Cradley Heath, Great Britain                         100,00   216
  213 thyssenkrupp Materials UK Holding Ltd., Birmingham, Great Britain                      100,00   216
  214 thyssenkrupp rothe erde UK Ltd., Peterlee, Great Britain                               100,00   216
  215 thyssenkrupp System Engineering Ltd., East Grinstead , West Sussex, Great Britain      100,00   216
  216 thyssenkrupp UK Plc., Solihull, Great Britain                                          100,00   153   100,00
                                                                                                      163     0,00
Guatemala
  217 Human Advisory S.A., Guatemala, Guatemala                                              100,00   299    99,98
                                                                                                      300     0,02
  218 thyssenkrupp Elevadores, S.A., Guatemala, Guatemala                                    100,00    2     10,00
                                                                                                      382    90,00
Hong Kong
  219 thyssenkrupp Elevator (HK) Ltd., Hong Kong, Hong Kong                                  100,00   119
India
   220 ATLAS ELEKTRONIK India Private Limited, New Delhi, India                     100,00   69     99,99
                                                                                             85      0,01
   221 Rothe Erde India Private Ltd., Maharashtra, India                            100,00   74      0,19
                                                                                             129     8,95
                                                                                             155    72,39
                                                                                             163     0,01
                                                                                             238    18,46
                                                                                             248     0,00
   222 thyssenkrupp Aerospace India Private Ltd., Bangalore, India                  100,00   213     0,00
                                                                                             216   100,00
   223 thyssenkrupp Electrical Steel India Private Ltd., Mumbai/Nashik, India       100,00   117   100,00
                                                                                             188     0,00
   224 thyssenkrupp Elevator (India) Private Limited, Maharashtra, India            100,00   82      0,00
                                                                                             119   100,00
   225 thyssenkrupp India Private Limited, Mumbai, India                            100,00   317   100,00
                                                                                             319     0,00
   226 thyssenkrupp Industrial Solutions (India) Private Limited, Mumbai, India      80,43   135
   227 thyssenkrupp Industries India Pvt. Ltd., Pimpri, India                        54,73   163
   228 thyssenkrupp Marine Systems (India) Private Limited, Haryana, India          100,00   211
   229 thyssenkrupp Materials IT Services India Pvt. Ltd., Thane MH, India          100,00   110
   230 thyssenkrupp System Engineering India Private Limited, Pune, India           100,00   162    99,90
                                                                                             163     0,10
Indonesia
   231 PT. thyssenkrupp Industrial Solutions Indonesia, Jakarta, Indonesia           67,00   135
   232 PT. thyssenkrupp Technologies Indonesia, Jakarta, Indonesia                   94,67   119
Iraq
   233 The House (Al-Bait) for Metal Technology and Engineering LLC, Bagdad, Iraq   100,00   135
   234 Thyssen Erbil for Industrial Services and Elevators Limited, Erbil, Iraq     100,00   135
Ireland
   235 thyssenkrupp Elevator Ireland, Ltd., Dublin, Ireland                         100,00   206
Israel
   236 thyssenkrupp Elevator Israel LP, Rishon Le'zion, Israel                      100,00   82     49,90
                                                                                             382    49,90
                                                                                             479     0,20
Italia
   237 Acciai Speciali Terni S.p.A., Terni, Italia                                  100,00   317
   238 Berco S.p.A., Copparo, Italia                                                100,00   104     0,05
                                                                                             247    99,95
   239 CIAMPI S.r.l., Colico Piano LC , Italia                                      100,00   245
   240 Euroascensori S.r.l. , Mezzolombardo, Italia                                 100,00   245
   241 Röhm Italia S.r.l., Garbagnate Milanese, Italia                              100,00   247
   242 SIMIA Ascensori S.r.l., Rom, Italia                                          100,00   245
   243 Terninox S.p.A., Terni, Italia                                               100,00   237
   244 thyssenkrupp Electrical Steel Italia S.r.l., Mailand, Italia                 100,00   320
   245 thyssenkrupp Elevator Italia S.p.A., Mailand, Italia                         100,00   247
   246 thyssenkrupp Home Solutions S.r.l., Pisa, Italia                             100,00   245
   247 thyssenkrupp Italia S.r.l., Rom, Italia                                      100,00   104
   248 thyssenkrupp rothe erde Italy S.p.A., Visano, Italia                         100,00   247
   249 thyssenkrupp System Engineering S.r.l., Turin, Italia                        100,00   162     2,00
                                                                                             247    98,00
   250 thyssenkrupp Uhde Chlorine Engineers (Italia) S.R.L., Milan, Italia*         100,00   165
Japan
   251 thyssenkrupp Access Japan Co., Ltd., Tokio, Japan                            100,00   119
   252 thyssenkrupp Japan K.K., Tokyo, Japan                                        100,00   253
   253 thyssenkrupp rothe erde Japan Ltd. , Minato-ku/Tokio, Japan                  100,00   135
   254 thyssenkrupp Steel Japan GK, Tokyo, Japan                                    100,00   320
   255 thyssenkrupp Uhde Chlorine Engineers (Japan) Ltd., Tokio, Japan              100,00   165
Jordan
   256 thyssenkrupp Elevator/Jordan Ltd. Co., Amman, Jordan                         100,00   119
Cambodia
   257 thyssenkrupp Technologies (Cambodia) Co., Ltd., Phnom Penh, Cambodia         100,00   119
Canada
   258 Budcan Holdings Inc., Kitchener/Ontario, Canada                              100,00   259
   259 thyssenkrupp Canada, Inc. , Calgary/Alberta, Canada                          100,00   317
   260 thyssenkrupp Elevator Canada Ltd., Toronto/Ontario, Canada                   100,00   265
   261 thyssenkrupp Finance CA Corp., Ottawa, Canada                                100,00   317
   262 thyssenkrupp Industrial Solutions (Canada) Inc., Federal Canada , Canada     100,00   317
   263 thyssenkrupp Marine Systems Canada, Ltd., Victoria BC, Canada                100,00   69
   264 thyssenkrupp Materials CA Ltd., Concord/Ontario, Canada                      100,00   429
   265 thyssenkrupp Northern Elevator Corp., Scarborough/Ontario, Canada            100,00   259
   266 thyssenkrupp Supply Chain Services CA, Inc., Windsor/Ontario, Canada         100,00   259
Kazakhstan
  267 thyssenkrupp Kazlift LLP, Almaty, Kazakhstan                                               100,00   382
  268 TOO ThyssenKrupp Central Logistics Construction Offshore and Onshore, Almaty, Kazakhstan   100,00   138    99,97
                                                                                                          270     0,03
  269 TOO thyssenkrupp Industrial Solutions Kazakhstan, Almaty, Kazakhstan                       100,00   135
  270 TOO thyssenkrupp Infrastructure, Almaty, Kazakhstan                                        100,00   138    99,00
                                                                                                          350     1,00
  271 TOO thyssenkrupp Plant Construction Kazakhstan , Almaty, Kazakhstan                        100,00   269    99,00
                                                                                                          272     1,00
  272 TOO thyssenkrupp Plant Engineering Kazakhstan, Almaty, Kazakhstan                          100,00   269    99,00
                                                                                                          271     1,00
Qatar
  273 thyssenkrupp Industries and Services Qatar LLC, Doha, Qatar                                100,00   119
Colombia
  274 thyssenkrupp Elevadores S.A., Bogota, Colombia                                             100,00    2      1,50
                                                                                                          35      1,50
                                                                                                          382    94,00
                                                                                                          328     1,50
                                                                                                          218     1,50
  275 thyssenkrupp Steel Colombia S.A.S., Bogota, Colombia                                       100,00   37
Korea, Rep.
  276 ATLAS Naval Engineering Company Ltd., Changwon-Si, Korea, Rep.                             100,00   69
  277 thyssenkrupp Elevator (Korea) Ltd., Seoul, Korea, Rep.                                     100,00   119
  278 ThyssenKrupp Korea Ltd., Seoul, Korea, Rep.                                                100,00   371
  279 thyssenkrupp Materials Korea Company Ltd., Seoul, Korea, Rep.                               70,00   144
Croatia
  280 thyssenkrupp Dizala d.o.o., Zagreb, Croatia                                                100,00   120
Kuwait
  281 thyssenkrupp Elevator Kuwait Trading Co. WLL., Kuwait, Kuwait                              100,00   119
Liechtenstein
  282 thyssenkrupp Presta Aktiengesellschaft, Eschen, Liechtenstein                              100,00   163
  283 thyssenkrupp Presta TecCenter AG, Eschen, Liechtenstein                                    100,00   149
Lithuania
  284 UAB thyssenkrupp Infrastructure, Klaipeda, Lithuania                                        51,00   138
Luxembourg
  285 ThyssenKrupp Ascenseurs Luxembourg S.a.r.l., Luxembourg, Luxembourg                        100,00   120
Malaysia
  286 Polysius Engineering Sdn. Bhd., Kuala Lumpur, Malaysia                                     100,00   135
  287 thyssenkrupp Elevator Malaysia Sdn. Bhd., Selangor, Malaysia                               100,00   119
  288 thyssenkrupp Industrial Solutions (Malaysia) SDN. BHD., Kuala Lumpur, Malaysia             100,00   135
  289 thyssenkrupp Industries (M) Sdn. Bhd., Kuala Lumpur, Malaysia                              100,00   227
  290 thyssenkrupp Malaysia Sdn. Bhd., Kuala Lumpur, Malaysia                                    100,00   104
  291 TK Lif & Eskalator Sdn. Bhd., Shah Alam, Malaysia                                          100,00   119    70,00
                                                                                                          287    30,00
Morocco
  292 thyssenkrupp Aerospace Morocco SARL, Casablanca, Morocco                                   100,00   103
  293 thyssenkrupp Elevator Maroc S.A.R.L., Casablanca. Marruecos , Morocco                      100,00   382   100,00
                                                                                                          380     0,00
  294 thyssenkrupp Industrial Solutions Maroc SARL, Mohammedia, Morocco                          100,00   135
Mexico
  295 Sidcomex S.A. de C.V., Puebla, Mexico                                                      100,00   144     0,01
                                                                                                          301    99,99
  296 thyssenkrupp Automotive Systems de México S.A. de C.V., Puebla, Mexico                     100,00   303     0,00
                                                                                                          108   100,00
  297 thyssenkrupp Components Technology de México, S.A. de C.V., San Luis Potosi, Mexico        100,00   163     0,00
                                                                                                          112   100,00
  298 thyssenkrupp Elevadores, S.A. de C.V., Mexico City, Mexico                                 100,00    2      0,07
                                                                                                          382    99,93
  299 thyssenkrupp Industrial Solutions (Mexico) S.A. de C.V., Mexico City, Mexico               100,00   135    99,99
                                                                                                          163     0,01
  300 thyssenkrupp Industrial Solutions Services (Mèxico), S.A. de C.V., Mexico D.F., Mexico     100,00   135     0,02
                                                                                                          299    99,98
  301 thyssenkrupp Materials de Mèxico, S.A. de C.V., Puebla, Mexico                             100,00   123     0,00
                                                                                                          144   100,00
  302 thyssenkrupp Metalúrgica de México S.A. de C.V., Puebla, Mexico                            100,00   297   100,00
                                                                                                          303     0,00
  303 thyssenkrupp Presta de México S.A. de C.V., Puebla, Mexico                                 100,00   195    50,00
                                                                                                          108    50,00
  304 thyssenkrupp System Engineering, S.A. de C.V., Santiago de Querétaro, Mexico               100,00   163     0,00
                                                                                                          162   100,00
Monaco
  305 Compagnie des Ascenseurs et Elevateurs S.A.M. 'CASEL SAM', Monaco, Monaco                  100,00   186
Mozambique
  306 thyssenkrupp Industrial Solutions (Mozambique) Limitada, Maputo Cidade, Moszmbique          100,00      343
Myanmar
  307 thyssenkrupp Elevator Myanmar Limited, Yangon, Myanmar                                      100,00      366    99,00
                                                                                                              313     1,00
New Zealand
  308 thyssenkrupp Elevator New Zealand Ltd., Auckland, New Zealand                               100,00       5
Netherland
  309 B.V. Stuwadoors-Maatschappij Kruwal, Rotterdam, Netherland                                   75,00      322    50,00
                                                                                                              161    25,00
  310 Ertsoverslagbedrijf Europoort C.V., Rotterdam, Netherland                                    75,25      161    24,75
                                                                                                              309     0,99
                                                                                                              322    49,50
  311 SkyLift B.V., Barneveld, Netherland                                                         100,00      315     0,06
                                                                                                              312    99,94
  312 thyssenkrupp Elevator B.V., Veghel, Netherland                                              100,00      313
  313 thyssenkrupp Elevator International Holding B.V., Roermond, Netherland                      100,00      317
  314 ThyssenKrupp Gebouwen B.V., Veghel, Netherland                                              100,00      144
  315 thyssenkrupp Liften B.V., Krimpen aan den IJssel, Netherland                                100,00      312
  316 thyssenkrupp Materials Nederland B.V., Amsterdam, Netherland                                100,00      313
  317 thyssenkrupp Nederland Holding B.V., Roermond, Netherland                                   100,00      104
  318 thyssenkrupp Netherlands Project B.V., Veghel, Netherland                                   100,00      163
  319 thyssenkrupp Participations B.V., Veghel, Netherland                                        100,00      317
  320 thyssenkrupp Second Participations B.V., Veghel, Netherland                                 100,00      163
  321 thyssenkrupp Stairlifts B.V., Krimpen aan den Ijssel, Netherland                            100,00      312
  322 thyssenkrupp Veerhaven B.V., Rotterdam, Netherland                                          100,00      320
Norway
  323 thyssenkrupp Aufzüge Norge A/S, Oslo, Norway                                                100,00      120
  324 thyssenkrupp Elevator A/S, Oslo, Norway                                                     100,00      323
  325 thyssenkrupp Rulletrapper A/S, Oslo, Norway                                                 100,00      323
Panama
  326 thyssenkrupp Elevadores S.A., Panama, Panama                                                100,00      382
Paraguay
  327 thyssenkrupp Elevadores, S.R.L., Asunción, Paraguay                                         100,00      382   100,00
                                                                                                               2      0,00
Peru
  328 thyssenkrupp Elevadores S.A.C., Lima, Peru                                                  100,00      382    99,81
                                                                                                               2      0,19
  329 thyssenkrupp Industrial Solutions (Peru) S.A., Arequipa, Peru                               100,00       3      0,01
                                                                                                              135    99,01
                                                                                                              299     0,98
Poland
  330 ThyssenKrupp Elevator Sp. z o.o., Warsaw, Poland                                            100,00      120
  331 ThyssenKrupp GfT Polska Sp. z o.o., Krakow, Poland                                          100,00      130
  332 thyssenkrupp Group Services Gdansk Sp. z o.o., Gdansk, Poland                               100,00      110
  333 thyssenkrupp Materials Poland S.A., Torun, Poland                                            90,00      144
  334 thyssenkrupp Materials Processing Europe Sp. z o.o., Dabrowa Górnicza, Poland               100,00      143
  335 ThyssenKrupp Presta SteerTec Poland Sp.z o.o., Meseritz, Poland                             100,00      150
Portugal
  336 PALMETAL Armazenagem e Servicos S.A., Palmela, Portugal                                      90,00      389
  337 thyssenkrupp Elevadores, S.A., Lissabon, Portugal                                           100,00      382
Puerto Rico
  338 Carolina Building Materials, Inc., Carolina, Puerto Rico                                    100,00      145
  339 thyssenkrupp Elevator Inc., San Juan, Puerto Rico                                           100,00      422
Rep. South Africa
  340 Ninafor (Pty) Ltd., Menlo Park, Rep. South Africa                                             0,00 2)   343
  341 The Umvuso Education Trust, Sunninghill Johannesburg, Rep. South Africa                       0,00 2)   343
  342 thyssenkrupp Elevator (South Africa) (Pty.) Ltd., Johannesburg, Rep. South Africa           100,00      119
  343 thyssenkrupp Industrial Solutions (Africa)(Pty) Ltd., Sunninghill, Rep. South Africa        100,00      135
  344 thyssenkrupp Industrial Solutions South Africa (Pty) Ltd., Sunninghill, Rep. South Africa    70,00      343
Romania
  345 thyssenkrupp Bilstein S.A., Sibiu, Romania                                                  100,00      125     0,18
                                                                                                              109    99,82
  346 thyssenkrupp Elevator SRL, Bucharest, Romania                                               100,00      382
  347 thyssenkrupp Materials Romania S.R.L., Bucharest, Romania                                   100,00      144
Russia
  348 OOO thyssenkrupp Elevator, Moscow, Russia                                                   100,00      120
  349 OOO thyssenkrupp Industrial Solutions (RUS), Dzerzhinsk, Russia                             100,00      135
  350 OOO thyssenkrupp Infrastructure, St. Petersburg, Russia                                     100,00      270     4,00
                                                                                                              138    96,00
  351 OOO thyssenkrupp System Engineering, Kaluga, Russia                                         100,00      162
  352 thyssenkrupp rothe erde RUS LLC, Moscow, Russia                                             100,00      375    99,00
                                                                                                  92      1,00
Saudi Arabia
  353 thyssenkrupp Saudi Arabia Contracting Company Limited, Riyadh, Saudi Arabia        100,00   197     5,00
                                                                                                  191    95,00
  354 thyssenkrupp Saudi Arabia Limited, Riyadh, Saudi Arabia                            100,00   120    90,00
                                                                                                  95     10,00
  355 Uhde Arabia Ltd., Al-Khobar, Saudi Arabia                                           60,00   135
Sweden
  356 thyssenkrupp Elevator Sverige AB, Stockholm, Sweden                                100,00   323
Switzerland
  357 Maerz Ofenbau AG, Zurich, Switzerland                                              100,00   135
  358 Neomat AG, Beromünster/Luzern, Switzerland                                         100,00   316
  359 Notz Plastics AG, Brügg, Switzerland                                               100,00   316
  360 thyssenkrupp Aufzüge AG, Rümlang, Switzerland                                      100,00   186    14,16
                                                                                                  120    85,84
  361 thyssenkrupp Materials Schweiz AG, Wil, Switzerland                                100,00   144
  362 thyssenkrupp Steel Switzerland AG, Bronschhofen, Switzerland                       100,00   320
  363 Trapo Küng AG, Zwingen, Switzerland                                                100,00   360
  364 Uhde Inventa-Fischer AG, Domat / Ems, Switzerland                                  100,00   135
Serbia
  365 ThyssenKrupp Materials d.o.o., Indjija, Serbia                                     100,00   144
Singapore
  366 thyssenkrupp Elevator (Singapore) Pte.Ltd., Singapore, Singapore                   100,00   371
  367 thyssenkrupp Industrial Solutions (Asia Pacific) Pte. Ltd., Singapore, Singapore   100,00   371
  368 thyssenkrupp Innovations Pte. Ltd., Singapore, Singapore                           100,00   371
  369 thyssenkrupp Marine Systems (Singapore) Pte. Ltd., Singapore, Singapore            100,00   371
  370 thyssenkrupp Materials Trading Asia Pte. Ltd., Singapore, Singapore                100,00   371
  371 thyssenkrupp Singapore Pte. Ltd., Singapore, Singapore                             100,00   104
  372 thyssenkrupp Steel Singapore Pte. Ltd., Singapore, Singapore                       100,00   320
Slovakia
  373 thyssenkrupp Industrial Solutions (Slovakia) s.r.o. i.L., Bratislava, Slovakia     100,00   166    85,00
                                                                                                  135    15,00
  374 thyssenkrupp Materials Slovakia spol. s r.o., Nové Zámky, Slovakia                 100,00   144
  375 thyssenkrupp rothe erde Slovakia a.s., Povazská Bystrica, Slovakia                 100,00   155
  376 ThyssenKrupp Vytahy s.r.o., Bratislava, Slovakia                                    98,87   451
  377 ThyssenKrupp-Dopravné Stavby Slovensko s.r.o., Bratislava, Slovakia                 51,00   130
Slowenia
  378 thyssenkrupp dvigala d.o.o., Trzin, Slowenia                                       100,00   451
Spain
  379 Defontaine Ibérica S.A.U., Viana, Spain                                            100,00   183
  380 Grupo thyssenkrupp S.L., Madrid, Spain                                             100,00   317
  381 thyssenkrupp Airport Solutions, S.A., Mieres/Oviedo, Spain                         100,00   382   100,00
                                                                                                  390     0,00
  382 thyssenkrupp Elevadores, S.L.U., Madrid, Spain                                     100,00   380
  383 thyssenkrupp Elevator Innovation Center, S.A., Mieres/Oviedo, Spain                100,00   390
  384 thyssenkrupp Elevator Manufacturing Spain S.L.U., Mostoles, Spain                  100,00   382
  385 thyssenkrupp Galmed S.L., Sagunto, Spain                                           100,00   320
  386 thyssenkrupp Industrial Solutions S.A.U., Madrid, Spain                            100,00   380
  387 thyssenkrupp Materials Ibérica S.A., Martorelles, Spain                            100,00   380
  388 thyssenkrupp Materials Processing Europe, S.L., Valencia, Spain                    100,00   380
  389 thyssenkrupp Materials Processing Lamincer S.A., Munguia, Spain                    100,00   144
  390 thyssenkrupp Norte S.A., Mieres/Oviedo, Spain                                      100,00   380    66,30
                                                                                                  382    33,70
  391 thyssenkrupp Plastic Ibérica SL, Massalfassar (Valencia), Spain                    100,00   380
  392 thyssenkrupp Rothe Erde Spain S.A., Zaragoza, Spain                                100,00   380
  393 thyssenkrupp Steel Ibérica S.L., Martorelles, Spain                                100,00   320
  394 thyssenkrupp System Engineering S.A., Barcelona, Spain                             100,00   380
Taiwan
  395 Sun Rich Elevator Co., Ltd., Taipei, Taiwan                                        100,00   119
  396 thyssenkrupp Elevator (Taiwan) Co., Ltd., Taipei, Taiwan                           100,00   119
Thailand
  397 Atlas Naval Support Centre (Thailand) Limited, Bangkok, Thailand                   100,00   69
  398 thyssenkrupp Elevator (Thailand) Co., Ltd., Bangkok, Thailand                      100,00   82      0,00
                                                                                                  119   100,00
  399 thyssenkrupp Industrial Solutions (Thailand) Ltd., Bangkok, Thailand                48,38    6
  400 thyssenkrupp Materials (Thailand) Co., Ltd., Bangkok, Thailand                     100,00   144    49,00
                                                                                                  401    51,00
  401 thyssenkrupp Materials Holding (Thailand) Ltd., Samut Prakarn Province, Thailand   100,00   144    49,00
                                                                                                  400    51,00
Czech Republic
  402 thyssenkrupp Materials Czechia spol. s r.o., Prague, Czech Republic                100,00   144
  403 ThyssenKrupp Vytahy s.r.o., Prague, Czech Republic                                 100,00   120
Tunesia
   404 Defontaine Tunisie S.A., Ben Arous, Tunesia                                     67,00   183
   405 thyssenkrupp Aerospace Tunisia S.A.R.L., Fouchana, Tunesia                      99,98   192
Turkey
   406 thyssenkrupp Asansör Sanayi ve Tic. A.S., Istanbul, Turkey                     100,00   119   17,09
                                                                                               120   35,55
                                                                                               382   47,35
   407 thyssenkrupp Marin Sistem Gemi Sanayi ve Ticaret A.S., Ankara, Turkey          100,00   141
   408 thyssenkrupp Materials Turkey Metal Sanayi ve Ticaret A.S., Istanbul, Turkey   100,00   144
Hungary
   409 thyssenkrupp Components Technology Hungary Kft., Budapest, Hungary             100,00   150
   410 thyssenkrupp Lift Kft, Budapest, Hungary                                       100,00   451
   411 thyssenkrupp Materials Hungary Zrt., Budapest, Hungary                         100,00   144
Uruguay
   412 thyssenkrupp Elevadores, S.R.L., Montevideo, Uruguay                           100,00    2     5,00
                                                                                               382   95,00
USA
   413 ATLAS North America, LLC., Yorktown, USA                                       100,00   69
   414 Berco of America Inc., Waukesha/Wisconsin, USA                                 100,00   432
   415 O`Keefe Elevator Company, Inc., Nebraska/Omaha, USA                            100,00   422
   416 thyssenkrupp Access Corp., Kansas City/Missouri, USA                           100,00   432
   417 thyssenkrupp Airport Systems Inc., Fort Worth/Texas, USA                       100,00   432
   418 thyssenkrupp Automotive Systems of America. LLC, Wilmington/Delaware, USA      100,00   432
   419 thyssenkrupp Bilstein of America Inc., San Diego/California, USA               100,00   432
   420 thyssenkrupp Crankshaft Co. LLC, Danville/Illinois, USA                        100,00   432
   421 thyssenkrupp Elevator Americas Corp., Wilmington/Delaware, USA                 100,00   432
   422 thyssenkrupp Elevator Corp., Wilmington/Delaware, USA                          100,00   421
   423 thyssenkrupp Elevator Manufacturing Inc., Wilmington/Delaware , USA            100,00   422
   424 thyssenkrupp Elevator USA Holding, Inc., Chicago/ Il., USA                     100,00   104
   425 thyssenkrupp Finance USA, Inc., Wilmington, Delaware, USA                      100,00   432
   426 thyssenkrupp Industrial Solutions (USA), Inc., Milwaukee/Wisconsin, USA        100,00   432
   427 thyssenkrupp Logistics, Inc., Southfield/Michigan, USA                         100,00   429
   428 thyssenkrupp Materials Finance USA LLC, East Lansing, USA                      100,00   430
   429 thyssenkrupp Materials NA, Inc., Southfield/Michigan, USA                      100,00   432
   430 thyssenkrupp Materials USA Holding LLC, East Lansing, USA                      100,00   432
   431 thyssenkrupp Materials, LLC, Southfield/Michigan, USA                          100,00   429
   432 thyssenkrupp North America, Inc., Dover/Delaware, USA                          100,00   424
   433 thyssenkrupp OnlineMetals, LLC, Southfield/Michigan, USA                       100,00   429
   434 thyssenkrupp Presta Danville, LLC, Danville/Illinois, USA                      100,00   432
   435 thyssenkrupp Presta North America, LLC, Terre Haute/Indiana, USA               100,00   432
   436 thyssenkrupp Real Estate North America LLC, Chicago, Il, USA                   100,00   432
   437 thyssenkrupp rothe erde USA Inc., Aurora/Ohio, USA                             100,00   432
   438 thyssenkrupp Steel North America, Inc., Dover/Delaware, USA                    100,00   320
   439 thyssenkrupp Supply Chain Services NA, Inc., Southfield/Michigan, USA          100,00   429
   440 thyssenkrupp System Engineering, Inc., Auburn Hills/Michigan, USA              100,00   432
   441 thyssenkrupp Uhde Chlorine Electrolysis (USA) Inc., Wilmington/Delaware, USA   100,00   255
United Arab Emirates
   442 ATLAS ELEKTRONIK L.L.C., Abu-Dhabi, United Arab Emirates                        49,00   69
   443 thyssenkrupp Elevator L.L.C., Abu Dhabi, United Arab Emirates                   49,00   119
   444 thyssenkrupp Elevator UAE (L L C), Dubai, United Arab Emirates                 100,00   119
Vietnam
   445 thyssenkrupp Elevator Vietnam Co., Ltd., Hanoi, Vietnam                        100,00   119
   446 thyssenkrupp Industrial Solutions (Vietnam) Ltd., Hanoi, Vietnam               100,00   135
   447 thyssenkrupp Materials Vietnam LLC, Ho-Chi-Minh City, Vietnam                  100,00   144
Egypt
   448 thyssenkrupp Elevator - Egypt S.A.E., Cairo, Egypt                             100,00   95     0,00
                                                                                               382   57,74
                                                                                               119   42,26
   449 thyssenkrupp Industrial Solutions Egypt Company (S.A.E.), Cairo, Egypt         100,00   135
Austria
   450 Rhenus Immobilien Gesellschaft m.b.H., Vienna, Austria                         100,00   452
   451 thyssenkrupp Aufzüge Gesellschaft m.b.H., Vienna, Austria                      100,00   313
   452 thyssenkrupp Austria Beteiligungs GmbH, Vienna, Austria                        100,00   454
   453 thyssenkrupp Austria GmbH, Vienna, Austria                                     100,00   104
   454 thyssenkrupp Austria GmbH & Co. KG, Vienna, Austria                            100,00   104
   455 thyssenkrupp Materials Austria GmbH, Vienna, Austria                           100,00   452

B. Companies consolidated per quota (*=Joint Venture)

Germany
   456 Hüttenwerke Krupp Mannesmann GmbH, Duisburg*                                    50,00   161
C. Equity stated companies (*=Joint Ventures)

Belgium
   457 Haeger & Schmidt Logistics Belgium N.V., Antwerp, Belgium                                                                           38,54        161
China
   458 JTA Technology (Hangzhou) Co. Ltd. , Hangzhou, China*                                                                               34,00        161
   459 TKAS (Chongqing) Auto Steel Co., Ltd., Chongqing, China*                                                                            12,50        161
   460 TKAS Auto Steel Company Limited, Dalian, Liaoning Province, China*                                                                  50,00        161
Germany
   461 BOBBY&CARL GmbH, Düsseldorf*                                                                                                        50,00        104
   462 COMUNITHY Immobilien GmbH, Düsseldorf                                                                                               49,00        110
   463 HFS Hotforming Solutions GmbH, Schwalbach*                                                                                          50,00        162
   464 Kreislaufsystem Blechverpackungen Stahl GmbH (KBS), Düsseldorf                                                                      40,00        152
   465 MTG Marinetechnik GmbH, Hamburg                                                                                                     49,00        141       39,00
                                                                                                                                                         69       10,00
   466 Walzen-Service-Center GmbH, Oberhausen*                                                                                             50,00        161
Finland
   467 Polarputki Oy, Helsinki, Finland*                                                                                                   50,00        144
Greece
   468 Advanced Lithium Systems Europe S.A., Attica, Greece                                                                                49,00         69
Italia
   469 Euroacciai S.p.A., Brescia, Italia                                                                                                  30,25        237
   470 Ilserv S.r.l., Terni, Italia                                                                                                        35,00        237
   471 Terni Frantumati S.p.A., Terni, Italia                                                                                              21,00        237
Qatar
   472 Blohm & Voss German Naval Technology LLC, Doha, Qatar*                                                                              40,00        141
Korea, Rep.
   473 KEPCO-Uhde Inc., Seoul, Korea, Rep. *                                                                                               26,93        135
Norway
   474 KTA Naval Systems AS, Kongsberg, Norway*                                                                                            50,00        141       16,67
                                                                                                                                                         69       33,33
Puerto Rico
   475 Aceros de America Inc., San Juan, Puerto Rico*                                                                                      50,00        145
Rep. South Africa
   476 CybiCOM ATLAS Defence Ltd., Capetown, Rep. South Africa                                                                             40,00         69
Singapore
   477 Leong Jin Corporation Pte. Ltd., Singapore, Singapore                                                                               30,00        144
USA
   478 Braun thyssenkrupp Elevator LLC, Madison/Wisconsin, USA*                                                                            50,00        422
                                                                                                               Profit (+) /                        Held by    Held in %
                                                                                                 Equity                           Shareholdings
                                                                                                                 Loss(-)                             No.
                                                                                                in TEUR                               in (%)
                                                                                                                in TEUR

D. Non consolidated companies

Israel
   479 thyssenkrupp Elevator (Management) Ltd., Rishon Le'zion, Israel                                    16                  0           100,00        382       50,00
                                                                                                                                                         82       50,00
Romania
   480 Maerz Ofenbau SRL, Timisoara, Romania                                                          387                 33 1)           100,00        357
Czech Republic
   481 ThyssenKrupp Industrial Solutions (CZ) s.r.o., Brno, Czech Republic                            389               108 1)            100,00        135

E. Other associated affiliates (*=Joint Ventures)

Germany
   482 Arsol Aromatics GmbH & Co. KG, Gelsenkirchen                                                                                        21,71        161
   483 ET Marinesysteme GmbH i.L., Wilhelmshaven*                                                                                          50,00         69
   484 Gewerkschaft Hermann V GmbH, Essen                                                                                                  33,33        115
   485 Grundstücksgesellschaft Schlossplatz 1 mbH & Co.KG, Berlin                                                                          20,00        104
   486 NORA Grundstücks-Vermietungsgesellschaft mbH & Co. Objekt Gelsenkirchen KG, Düsseldorf                                              94,76         98
India
   487 Indo German International Private Ltd., New Delhi, India                                                                            43,72        145
Japan
   488 JEVISE Corporation, Tokyo, Japan*                                                                                                   50,00        161
Portugal
   489 LISNAVE-ESTALEIROS NAVAIS S.A., Lissabon, Portugal                                                                                  20,00        163

F. Other associated companies

Brazil
   490 Susin, Francescutti Metalurgica Ltda., Bairro Pioneiro-Caxias do Sul, Brazil                                                        12,50         27
China
   491 BCCW (Tangshan) Jiahua Coking & Chemical Co., Ltd. i.L., Tangshan, China                                                            25,00        145
Deutschland
  492 BELASTAHL Außenhandel GmbH, Berlin                                                                           10,00   145
  493 Gesellschaft für Wirtschaftsförderung Duisburg mbH -GFW Duisburg-, Duisburg                                  10,00   104    7,50
                                                                                                                           161    2,50
  494 Hamburgische Schiffbau-Versuchsanstalt GmbH, Hamburg                                                         20,42   141
  495 Holcim HüttenZement GmbH, Dortmund                                                                           25,01   161
  496 inpro Innovationsgesellschaft für fortgeschrittene Produktionssysteme in der Fahrzeugindustrie mbH, Berlin   14,29   163
  497 LEWA Attendorn GmbH, Olpe                                                                                    19,20   161    4,00
                                                                                                                           104   15,20
  498 PEAG Holding GmbH, Dortmund                                                                                  13,72   104
France
  499 Bionext S.A.S., Venette, France                                                                              19,18   135
Spain
  500 Thyssen Ros Casares S.A. i.L., Valencia, Spain                                                               50,00   143




         1) Yearend closing other than 09/30
         2) included due to IFRS
         3) head of group
